Case 1:22-cv-20955-DPG Document 53 Entered on FLSD Docket 08/26/2022 Page 1 of 6



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 1:22-CV-20955-GAYLES/TORRES


   In re Lakeview Loan Servicing Data Breach
   Litigation

  ________________________________________/

                SCHEDULING ORDER SETTING CIVIL TRIAL DATE AND
                 PRETRIAL SCHEDULE, REQUIRING MEDIATION, AND
               REFERRING CERTAIN MOTIONS TO MAGISTRATE JUDGE

         THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

  Monday, July 29, 2024. The Telephonic Calendar Call will be held at 9:30 a.m. on Wednesday,

  July 24, 2024. A Telephonic Status Conference will be held at 10:00 a.m. on Wednesday, May

  22, 2024. The parties shall adhere to the following schedule:

   1.   Joinder of any additional parties by                                                    3/7/2023

   2.   Filing of motions to amend the complaint by                                             5/5/2023

   3.   Written lists containing the names and addresses of all witnesses intended to
                                                                                               5/10/2024
        be called at trial by

   4.   Plaintiff(s) shall disclose fact experts, expert witness summaries, and reports
                                                                                               1/10/2024
        as required by Fed. R. Civ. P. 26(a)(2) by

   5.   Defendant(s) shall disclose fact experts, expert witness summaries, and
                                                                                               2/21/2024
        reports as required by Fed. R. Civ. P. 26(a)(2) by

   6.   Exchange of rebuttal fact expert witness summaries and reports as required
                                                                                               3/20/2024
        by Fed. R. Civ. P. 26(a)(2) by

   7.   Parties shall select a mediator pursuant to Local Rule 16.2 and shall schedule a
                                                                                               7/21/2023
        time, date, and place for mediation by

   8.   Plaintiffs shall file their motion for class certification and serve any class
                                                                                               9/15/2023
        expert reports or declarations in support of the same by

   9.   Defendant shall file their opposition to Plaintiff’s motion for class certification
                                                                                              11/17/2023
        and serve any class expert reports or declarations in support of the same by
Case 1:22-cv-20955-DPG Document 53 Entered on FLSD Docket 08/26/2022 Page 2 of 6



   10.   Plainitffs shall file their reply brief in support of their motion for class
         certification and serve any rebuttal class expert reports or declarations in     12/15/2023
         support of the same by

   11.   Fact discovery shall be completed by                                              3/31/2024

   12.   Merits expert discovery shall be completed by                                     3/31/2024

   13.   Dispositive motions, including motions for summary judgment, and Daubert
                                                                                            4/8/2024
         motions, shall be filed by

   14.   Mediation shall be completed by                                                    5/3/2024

   15.   All pretrial motions and memoranda of law, including motions in limine,
                                                                                           5/24/2024
         shall be filed by

   16.   Joint pretrial stipulation, proposed joint jury instructions, proposed joint
         verdict form, and/or proposed findings of fact and conclusions of law shall be     7/5/2024
         filed by


         Motions. Every motion filed in this case shall be accompanied by one proposed original

  order granting the motion. Each party shall be limited to filing one (1) motion in limine. Unless

  otherwise specified by the Court, every motion shall be double spaced in 12-point Times New

  Roman typeface. Multiple Plaintiffs or Defendants shall file joint motions with co-parties

  unless there are clear conflicts of position.

         Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636, all discovery matters are

  referred to Chief Magistrate Judge Edwin G. Torres to take all appropriate action. Further-

  more, pursuant to 28 U.S.C. § 636(c)(1), the parties may consent to trial and final disposition

  by Chief Judge Torres.

         Status Conferences and Calendar Call. The parties shall attend any status conference

  held in this matter and the calendar call by telephone. Counsel shall enter their appearances tele-

  phonically using the following dial-in information: Dial-in Number 888-273-3658; Access Code

  7032614; Security Code 5170. Please dial in at least ten minutes before the status conference

  begins and wait until your case is called.


                                                     2
Case 1:22-cv-20955-DPG Document 53 Entered on FLSD Docket 08/26/2022 Page 3 of 6



         Mediation. The parties shall select a mediator pursuant to Local Rule 16.2 and shall schedule

  a time, date, and place for mediation. If the parties cannot agree on a mediator, they shall notify the

  Clerk in writing as soon as possible, and the Clerk shall designate a certified mediator on a blind

  rotation basis. Counsel for all parties shall familiarize themselves with and adhere to all provisions

  of Local Rule 16.2. Within seven (7) days of mediation, the parties are required to file a mediation

  report with the Court.

         Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

  documents, and answer requests for admissions. The parties shall not file with the Court notices

  or motions memorializing any such stipulation unless the stipulation interferes with the deadlines

  set forth above. The Court must approve all stipulations that would interfere with the schedule

  deadlines. See Fed. R. Civ. P. 29. In addition to the documents enumerated in Local Rule 26.1(b),

  the parties shall not file notices of deposition with the Court. Strict compliance with the Local

  Rules is expected, particularly with regard to motion practice. See S.D. Fla. L.R. 7.1.

         Discovery Disputes. No written discovery motions, including motions to compel, for

  protective order, or related motions for sanctions shall be filed unless the Chief Magis-

  trate Judge requests it after a discovery hearing.

         Deposition Designations. Parties seeking to use deposition testimony at trial shall

  provide the Court will a full deposition transcript. The designations shall be color coded,

  with each party highlighting the deposition testimony it intends to use in a specific color.

  Objections to designations shall be included in the margins of the transcript.

         Electronic Submission of Exhibits. Pursuant to Local Rule 5.3(b)(2) regarding elec-

  tronic submission of exhibits, counsel must file in the CM/ECF system electronic versions of doc-

  umentary exhibits within ten (10) days of the conclusion of the hearing or trial in which they were




                                                    3
Case 1:22-cv-20955-DPG Document 53 Entered on FLSD Docket 08/26/2022 Page 4 of 6



  introduced. 1 At the time of filing the electronic exhibits, an attorney for each party shall also com-

  plete and file the attached Certification of Compliance re Admitted Evidence. Electronically

  filed exhibits are subject to CM/ECF Administrative Procedures, Section 6, Redaction of Per-

  sonal Information, Privacy Policy, and Inappropriate Materials. Failure to file the electronic ex-

  hibits and Certification of Compliance by the date enumerated above may result in the imposition

  of sanctions. Any original exhibits that have been returned to, or retained by, the filing party

  after electronic filing shall be kept for safe keeping until the conclusion of any appeals. Upon

  order of the Court, the filing party must return the original exhibits to the Clerk of Court.


           DONE AND ORDERED in Chambers at Miami, Florida, this Thursday, August 25,

  2022.


                                                       _______________________________
                                                       DARRIN P. GAYLES
                                                       UNITED STATES DISTRICT JUDGE


  cc:      Chief Magistrate Judge Torres
           All Counsel of Record




  1
      This requirement excludes contraband and audio/video recordings. The filing party will file with the Clerk a CD,
      DVD, or other electronic medium containing a copy of any exhibit that is an audio or video recording.


                                                           4
Case 1:22-cv-20955-DPG Document 53 Entered on FLSD Docket 08/26/2022 Page 5 of 6



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                             Case No. 22-CV-20955-GAYLES/TORRES


   In re Lakeview Loan Servicing Data Breach
   Litigation
  ________________________________________/

               CERTIFICATE OF COMPLIANCE RE ADMITTED EVIDENCE

  I, ___________________________________________, as counsel for

  ______________________________________________________, hereby certify the following:


  Check the applicable sections:

  □ ALL EXHIBITS E-FILED. All documentary exhibits and photographs of nondocumentary
  physical exhibits to be admitted into evidence have been electronically filed in CM/ECF.

  □ EXHIBITS NOT E-FILED. Some documentary exhibits and/or physical exhibits to be admit-
  ted into evidence cannot be electronically filed in CM/ECF. This includes and contraband. The
  following identifies those exhibit numbers that have been retained by the Clerk, and separately
  identifies those proposed exhibit numbers retained by this filing party. (Attach a list.)

  □ AUDIO/VIDEO EXHIBITS. The following audio and/or video exhibits are to be entered
  into evidence during these proceedings. The filing party has conventionally filed with the Clerk of
  Court a CD or DVD containing the audio or video exhibit. (Attach a list.)

  Any original exhibits that have been returned to or retained by the filing party after electronic filing
  shall be kept for safe keeping until the conclusion of any appeals. Upon order of the Court, the
  filing party agrees to return the original exhibits to the Clerk of Court.

  This Certificate shall be filed by the date provided in the Court’s Scheduling Order. Failure to
  timely comply with the Electronic Submission of Exhibits requirements provided in the Scheduling
  Order or with the requirements of Administrative Order 2016-70 governing the Electronic Sub-
  mission of Exhibits may result in the imposition of sanctions.


  Signature: ___________________________________________ Date: ____________________
Case 1:22-cv-20955-DPG Document 53 Entered on FLSD Docket 08/26/2022 Page 6 of 6




  Face Page Data
                                     22-CV-20955-
     Case Number                     GAYLES/TORRES
                                     In re Lakeview Loan Servicing
     Case Name                       Data Breach Litigation
  Trial and Calendar Call Information
     Trial Date (mm/dd/yy content                                    As set forth in scheduling
                                   Monday, July 29, 2024
     automatically formatted)                                        report
     Telephonic Calendar Call Date                                   Wednesday before Trial pe-
     (mm/dd/yy hh:mm – automati- Wednesday, July 24, 2024            riod
     cally formatted)
  Due Dates
  Joinder/Amended Motions            3/7/2023                        Month to six weeks after
                                                                     schdl conf
  Witness Summaries                  5/10/2024                       Six weeks after schdl conf
  Witness List                       5/10/2024                       Six weeks after schdl conf
  Rebuttal Expert                    3/20/2024                       Eight weeks after schdl
                                                                     conf
  Mediator Selection                  7/21/2023                      Six weeks after schdl conf
  Discovery                           3/31/2024                      Five months before trial
  Expert Discovery                    3/31/2024                      Five months before trial
  Dispositive Motions                 4/8/2024                       Four months before trial
  Mediation                           5/3/2024                       Three months before trial
  Pretrial Motions/Motions in         5/24/2024                      Two months before trial
  Limine
  Joint Pretrial Stipulation Due Date 7/5/2024                       One month before trial
  Electronic Submission of Exhibits                                  Within ten days of the con-
                                                                     clusion of the hearing or
                                                                     trial
  Telephonic Status Conference                                       Three weeks after Mediation
                                     5/22/2024
                                                                     deadline (always Wednesday)
  Closing
     Date of Order                   Thursday, August 25, 2022
